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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                            CASE NO. 3:23-CR-00023-DJH-2
                                 Electronically Filed

UNITED STATES OF AMERICA                                                        PLAINTIFF

V.

JENNIFER O’BANNON                                                             DEFENDANT

                        JENNIFER O’BANNON’S UNOPPOSED
                           MOTION TO CONTINUE TRIAL

       Jennifer O’Bannon, by counsel, respectfully requests the Court to continue the

trial in her case, currently scheduled to begin on August 7, 2023. Ms. O’Bannon and the

government are engaged in plea negotiations.

       The Speedy Trial Act exempts from its deadlines any “period of delay resulting

from...proceedings concerning the defendant....” 18 U.S.C. § 3161(h)(1). Delay

attributable to settlement negotiations is excludable under this provision of the Act.

United States v. Montgomery, 395 F. App’x 177, 182 (6th Cir. 2010); United States v. Bowers,

834 F.2d 607, 609-610 (6th Cir. 1987).

       Undersigned counsel has discussed the requested delay with counsel for co-

defendant Levelle O’Bannon, and with the government and neither party objects to a

continuance.
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      WHEREFORE, this Court is respectfully requested to enter the attached Order.

                                                 RESPECTFULLY SUBMITTED,

                                                 /S/ JOHN CASEY MCCALL
                                                 JOHN CASEY MCCALL
                                                 600 West Main Street, Suite 300
                                                 Louisville, Kentucky 40202
                                                 (502) 589-6190




                             CERTIFICATE OF SERVICE

      It is hereby certified that the foregoing was electronically filed with the clerk of

the court by using the CM/ECF system, which will send a notice of electronic filing to all

attorneys of record.

                                                 /s/ John Casey McCall
                                                 John Casey McCall
